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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION

LAUGER COMPANIES, INC.,                         §
                                                §
                                   Plaintiff,   §
                                                §
v.                                              §
                                                §         CIVIL ACTION NO. 6:16-cv-11
MID-CONTINENT CASUALTY                          §
COMPANY,                                        §
                                                §
                                 Defendant.     §

     DEFENDANT MID-CONTINENT CASUALTY COMPANY’S NOTICE OF APPEAL

        PLEASE TAKE NOTICE, that Defendant, Mid-Continent Casualty Company (“Mid-

Continent” or “Defendant”) hereby appeals to the United States Court of Appeals for the Fifth

Circuit from the following, signed and entered by the Hon. Lynn N. Hughes, Judge of the United

States District Court for the Southern District of Texas, Victoria Division, in the above-styled

case:

        1.    Dkt. 49: Post-Judgment Award of Fees and Costs, ruling that Lauger Companies,

Inc. recovers from Mid-Continent Surety Company $25,027.50 in attorneys’ fees plus $3,004.23

in costs (40)(41), signed and filed/entered December 6, 2017;

        2.    Dkt. 48: Award of Fees and Costs ruling that Lauger Companies, Inc. may

recover from Mid-Continent Casualty Company $25,027.50 in attorneys’ fees plus $3,004.23 in

costs, signed and filed/entered December 6. 2017;

        3.     Dkt. 39: Final Judgment ruling that Lauger Companies, Inc. takes $78,652,52

from Mid-Continent, signed and filed/entered August 2, 2017;




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       4.     Dkt. 38: Opinion on Summary Judgment ruling that Mid-Continent is obligated

to pay for damages caused by pouring the defective concrete, and Lauger Companies will take

$78,652.52 from Mid-Continent Casualty Company dated August 2, 2017 ; and

       5.     All other adverse opinions and orders forming the basis for the Final Judgment.

       Defendant timely perfects this appeal pursuant to rules 4(a)(1)(A) and 4(a)(4)(B)(i)

and/or 4(a)(4)(B)(ii) of the Federal Rules of Appellate Procedure and 28 U.S.C. § 1291.

Defendant tenders the filing fee required by rule 3(e) of the Federal Rules of Appellate

Procedure.

                                           Respectfully submitted,

                                           By:   /s/R. Brent Cooper
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                                           MID-CONTINENT CASUALTY COMPANY



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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 5th day of January 2018, I electronically filed Defendant Mid-
Continent Casualty Company’s Notice of Appeals with the Clerk of Court using the CM/ECF
system which will send notification of such filing to the following:

VIA EFILE
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                                              /s/R. Brent Cooper
                                             R. BRENT COOPER
D/978455v1




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